IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
GREAT FALLS DIVISION

NATHANIEL LAKE,
Plaintiff,

Vv.

CORECIVIC, INC. d/b/a

CROSSROADS CORRECTIONAL

CENTER,

Defendant.

No. 4:21-CV-00116-BMM

VERDICT FORM

We, the jury in the above-entitled case, upon our oaths, enter our verdict as

follows:

Question 1: Do you find that Nathaniel Lake has proved by a preponderance of the
evidence each of the elements necessary to establish his claim of failure to protect

under the Eighth Amendment?

Answer: Yes 4

Please proceed to Question 2.

No

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Question 2: Do you find that Nathaniel Lake has proved by a preponderance of the
evidence each of the elements necessary to establish his claim for negligence
against CoreCivic?

Answer: Yes No

If your responses to both Question | and Question 2 are “No,” please sign, date,
and return this form. If your response to Question | is “Yes,” please proceed to
Question 5. If your response to Question | is “No,” and Question 2 is “Yes,”
please proceed to Question 3.

Question 3: Do you find that CoreCivic has proved by a preponderance of
evidence each of the elements necessary to establish its claim that Nathaniel Lake
was negligent?

Answer: Yes No

If your response to Question 3 is “Yes,” please proceed to Question 4. If your
response to Question 4 is “No,” please proceed to Question 5.

Question 4: Out of 100%, what percentage of liability do you apportion to the
parties:

Answer: — Nathaniel Lake: % CoreCivic: %

Please proceed to Question 5.

Question 5: What amount of damages, if any, would reasonably compensate
Nathaniel Lake?

Answer: $ wt 2 750 000

Dated this 2+t day of April, 2025.

Foreperson signature redacted. Original
document filed under seal.

jury Foreperson

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